Case 18-14683-leb   Doc 104   Entered 08/23/18 13:00:25   Page 1 of 11
Case 18-14683-leb   Doc 104   Entered 08/23/18 13:00:25   Page 2 of 11
Case 18-14683-leb   Doc 104   Entered 08/23/18 13:00:25   Page 3 of 11
Case 18-14683-leb   Doc 104   Entered 08/23/18 13:00:25   Page 4 of 11
                                          Case 18-14683-leb              Doc 104 Entered 08/23/18 13:00:25                 Page 5 of 11
                                                                            Gump’s Holdings, LLC, et al.
                                                                                 Electronic Mail
                                                                                  Exhibit Pages
Page # : 1 of 3                                                                                                                                       08/22/2018 06:17:57 PM
000055P003-1399S-007                          000034P002-1399S-007                       000039P001-1399S-007                             000039P001-1399S-007
AARON HENRY                                   ALLSTATE FLORAL & CRAFT, INC.              APF FBO PROFESSIONAL STAFFING CO. INC            APF FBO PROFESSIONAL STAFFING CO. INC
MANAGING AGENT                                MANAGING AGENT                             MANAGING AGENT                                   MANAGING AGENT
550 SOUTH HILL ST                             14038 PARK PL                              PO BOX 823473                                    PO BOX 823473
#1620                                         CERRITOS CA 90703                          PHILADELPHIA PA 19182-3473                       PHILADELPHIA PA 19182-3473
LOS ANGELES CA 90013                          SUEGILBERTSON@ATT.NET                      JENNIFER@PSCSTAFFING.COM                         D.OWEN@ADVANCEPARTNERS.COM
AHENRYDESIGNS@SBCGLOBAL.NET



000036P001-1399S-007                          000036P001-1399S-007                       000036P001-1399S-007                             000053P002-1399S-007
ASTOUND COMMERCE CORPORATION                  ASTOUND COMMERCE CORPORATION               ASTOUND COMMERCE CORPORATION                     BARBARA HEINRICH STUDIO
MANAGING AGENT                                MANAGING AGENT                             MANAGING AGENT                                   MANAGING AGENT
111 BAYHILL DR                                111 BAYHILL DR                             111 BAYHILL DR                                   77 EAST JEFFERSON RD
STE 425                                       STE 425                                    STE 425                                          PITTSFORD NY 14534
SAN BRUNO CA 94066                            SAN BRUNO CA 94066                         SAN BRUNO CA 94066                               JANINE@BARBARAHEINRICHSTUDIO.COM
ALEXANDER@ASTOUNDCOMMERCE.COM                 AR@ASTOUNDCOMMERCE.COM                     LEGAL@ASTOUNDCOMMERCE.COM



000023P001-1399S-007                          000049P002-1399S-007                       000068P001-1399S-007                             000059P001-1399S-007
BRIAN TSUNG                                   BUCCELLATI INC.                            BUCHALTER, A PROFESSIONAL CORPORATION            COMCAST SPOTLIGHT
1570 8TH AVE                                  MANAGING AGENT                             SHAWN M CHRISTIANSON, ESQ                        MANAGING AGENT
SAN FRANCISCO CA 94112                        714 MADISON AVE                            55 SECOND ST, 17TH FLOOR                         PO BOX 742637
BRIANTSUNG@GMAIL.COM                          4TH FL                                     SAN FRANCISCO CA 94105-3493                      LOS ANGELES CA 90074
                                              NEW YORK NY 10065                          SCHRISTIANSON@BUCHALTER.COM                      ASK_BUSOPS@COMCAST.COM
                                              AURORA.NIEVES@BUCCELLATI.COM



000020P002-1399S-007                          000020P002-1399S-007                       000051P002-1399S-007                             000046P001-1399S-007
CORPORATE PARTNERS II, LTD.                   CORPORATE PARTNERS II, LTD.                CUSHMAN & WAKEFIELD, INC.                        DEACON & CO.
ATTN: JONATHAN KAGAN                          ATTN: JONATHAN KAGAN                       RICH LEE                                         MANAGING AGENT
45 ROCKEFELLER PLAZA                          45 ROCKEFELLER PLAZA                       425 MARKET ST                                    5/F. TOWER 2
STE 2626                                      STE 2626                                   STE 2300                                         SOUTH SEAS CENTRE, 75 MODY
NEW YORK NY 10111                             NEW YORK NY 10111                          SAN FRANCISCO CA 94105                           KOWLOON HONG KONG 999077
JONATHAN.KAGAN@CORPORATEPARTNERSLLC.COM       MICHAEL.MOYLAN@CORPORATEPARTNERSLLC.COM    PM@SHREVEBUILDING.COM                            HONG KONG
                                                                                                                                          ROMAN.YAWORSKY@DEACON.COM.HK


000060P001-1399S-007                          000040P002-1399S-007                       000026P002-1399S-007                             000035P001-1399S-007
DURLAND CO.                                   EPSILON DATA MANAGEMENT, LLC               FEDEX CORPORATE SERVICES INC.                    FURNITURE CLASSICS
MANAGING AGENT                                MANAGING AGENT                             MANAGING AGENT                                   MANAGING AGENT
608 FIFTH AVE                                 3788 MOMENTUM PL                           942 S SHADY GROVE RD                             835 PHILPOTTS ROAD
STE 407                                       CHICAGO IL 60689-5337                      MEMPHIS TN 38120                                 NORFOLK VA 23513
NEW YORK NY 10020                             CHRIS.SCHULTE@EPSILON.COM                  BRYAN.JOHNSON@FEDEX.COM                          INFO@FURNITURECLASSICS.COM
ESTATE@DURLANDCO.COM



000052P001-1399S-007                          000019P001-1399S-007                       000019P001-1399S-007                             000019P001-1399S-007
GEORG JENSEN INC.                             GORDON BROTHERS RETAIL PARTNERS, LLC       GORDON BROTHERS RETAIL PARTNERS, LLC             GORDON BROTHERS RETAIL PARTNERS, LLC
MANAGING AGENT                                ATTN: MACKENZIE SHEA                       ATTN: MACKENZIE SHEA                             ATTN: MACKENZIE SHEA
580 BROADWAY                                  PRUDENTIAL TOWER                           PRUDENTIAL TOWER                                 PRUDENTIAL TOWER
STE 506                                       800 BOYLSTON STREET                        800 BOYLSTON STREET                              800 BOYLSTON STREET
NEW YORK NY 10012                             BOSTON MA 02119                            BOSTON MA 02119                                  BOSTON MA 02119
JUDITH.SMITH@GEORGJENSEN.COM                  MSHEA@GORDONBROTHERS.COM                   TSHILLING@GORDONBROTHERS.COM                     MPECORA@GORDONBROTHERS.COM
                                   Case 18-14683-leb             Doc 104 Entered 08/23/18 13:00:25                Page 6 of 11
                                                                    Gump’s Holdings, LLC, et al.
                                                                         Electronic Mail
                                                                          Exhibit Pages
Page # : 2 of 3                                                                                                                             08/22/2018 06:17:57 PM
000018P001-1399S-007                   000018P001-1399S-007                      000038P001-1399S-007                            000064P001-1399S-007
HILCO MERCHANT RESOURCES, LLC          HILCO MERCHANT RESOURCES, LLC             I-CENTRIX DBA RYAN PARTNERSHIP                  KOLESAR & LEATHAM
ATTN: IAN S. FREDERICKS                ATTN: IAN S. FREDERICKS                   MANAGING AGENT                                  JAMES PATRICK SHEA;BART K LARSEN
5 REVERE DRIVE                         5 REVERE DRIVE                            3100 EASTON SQUARE PL                           400 S RAMPART BLVD STE 400
SUITE 206                              SUITE 206                                 COLUMBUS OH 43219                               LAS VEGAS NV 89145
NORTHBROOK IL 60062                    NORTHBROOK IL 60062                       ANGELICA.LENT@EPSILON.COM                       JSHEA@KLNEVADA.COM
IFREDERICKS@HILCOGLOBAL.COM            DARNOLD@HILCOGLOBAL.COM



000064P001-1399S-007                   000017P002-1399S-007                      000017P002-1399S-007                            000047P002-1399S-007
KOLESAR & LEATHAM                      LAW OFFICES OF JUDITH W ROSS              LAW OFFICES OF JUDITH W ROSS                    LSC COMMUNICATIONS, INC.
JAMES PATRICK SHEA;BART K LARSEN       JUDITH W ROSS                             JUDITH W ROSS                                   MANAGING AGENT
400 S RAMPART BLVD STE 400             700 NORTH PEARL ST                        700 NORTH PEARL ST                              191 NORTH WACKER DRIVE
LAS VEGAS NV 89145                     STE 1610                                  STE 1610                                        STE 1400
BLARSEN@KLNEVADA.COM                   DALLAS TX 75201                           DALLAS TX 75201                                 CHICAGO IL 60606
                                       JUDITH.ROSS@JUDITHWROSS.COM               JESSICA.LEWIS@JUDITHWROSS.COM                   ERIN.L.MARTIN@LSCCOM.COM



000032P001-1399S-007                   000025P002-1399S-007                      000057P002-1399S-007                            000054P002-1399S-007
MARIA YEE                              MICHAEL MOSCA                             MIEKO MINTZ LLC                                 MOSS ADAMS LLP
MANAGING AGENT                         202 RIPLEY ST                             MARK A. MINTZ, PRESIDENT                        MANAGING AGENT
1939 MONTEREY RD                       SAN FRANCISCO CA 94110                    77 RIVER ST APT 1                               LOCKBOX 101822
STE 8                                  MICHAELMOSCA@ME.COM                       HOBOKEN NJ 07030-5613                           2710 MEDIA CENTER DR
SAN JOSE CA 95112                                                                MARKMINTZ@OPTONLINE.NET                         BLDG. 6, STE 120
LINDA@MARIAYEE.COM                                                                                                               LOS ANGELES CA 90065
                                                                                                                                 KIMBERLY.MEYERS@MOSSADAMS.COM


000043P001-1399S-007                   000041P001-1399S-007                      000058P001-1399S-007                            000044P001-1399S-007
NAM HAI CO. LTD                        NATURAL FASHION INC. DBA ANU              PETRA CLASS                                     REGENCY INTERNATIONAL BUSINESS
AREA B, DONG CHIEU ZONE                MANAGING AGENT                            MANAGING AGENT                                  MANAGING AGENT
TAN DONG HIEP WARD                     25 JORDAN PLA # 1                         1072 ALABAMA ST                                 50 BROADWAY
DI AN TOWN BINH DUONG                  CHICO CA 95973                            SAN FRANCISCO CA 94110                          3RD FLOOR
VIETNAM                                PCHOPRA@NATURALFASHIONS.NET               PETRA.CLASS@GMAIL.COM                           NEW YORK NY 10004
NINHVTU@YAHOO.COM.VN                                                                                                             ANA@REGENCY-RIB.COM



000067P001-1399S-007                   000056P001-1399S-007                      000027P001-1399S-007                            000030P002-1399S-007
RIEMER BRANSTEIN LLP                   RUSSELL TRUSSO FINE JEWELRY               SANDBOX STUDIO                                  SCHWAK USA, INC.
STEVEN FOX                             MANAGING AGENT                            MANAGING AGENT                                  C/O MATTHEWS INTERNATIONAL CORP.
SEVEN TIMES SQUARE                     PO BOX 616                                3850 N 29TH TERRACE                             MANAGING AGENT
STE 2506                               LAKEWOOD OH 44107-0616                    STE 107                                         18211 NE 68TH STREET
NEW YORK NY 10036                      RUSS@RUSSELLTRUSSO.COM                    HOLLYWOOD FL 33020                              STE E # 120
SFOX@RIEMERLAW.COM                                                               DONNA.JAGRU@CREATIVEDRIVE.COM                   REDMOND WA 98502-8528
                                                                                                                                 MARIA.CHERESO@SGKINC.COM


000050P001-1399S-007                   000065P001-1399S-007                      000066P001-1399S-007                            000070P001-1399S-007
SEKO WORLDWIDE, LLC                    ST JAMES LAW PC                           STERLING BUSINESS CREDIT LLC                    SULLIVAN HILL
MANAGING AGENT                         MICHAEL ST JAMES, ESQ                     LAUREL VARNEY                                   ELIZABETH STEPHENS
1100 ARLINGTON HEIGHTS RD              22 BATTERY ST STE 888                     8401 N CENTRAL EXPRESSWAY                       228 SOUTH 4TH STREET
STE 600                                SAN FRANCISCO CA 94111                    STE 600                                         FIRST FLOOR
ITASCA IL 60143                        ECF@STJAMES-LAW.COM                       DALLAS TX 75225                                 LAS VEGAS NV 89101
GENEVA.GOHEEN@SEKOLOGISTICS.COM                                                  LVARNEY@SNB.COM                                 STEPHENS@SULLIVANHILL.COM
                              Case 18-14683-leb              Doc 104 Entered 08/23/18 13:00:25           Page 7 of 11
                                                                Gump’s Holdings, LLC, et al.
                                                                     Electronic Mail
                                                                      Exhibit Pages
Page # : 3 of 3                                                                                                                   08/22/2018 06:17:57 PM
000001P004-1399S-007              000001P004-1399S-007                       000037P002-1399S-007                       000042P001-1399S-007
UNITED STATES TRUSTEE             UNITED STATES TRUSTEE                      VILAGALLO SA                               WINWARD INTERNATIONAL
EDWARD MCDONALD                   EDWARD MCDONALD                            CALLE VELAZQUEZ 44                         MANAGING AGENT
300 LAS VEGAS BLVD SOUTH          300 LAS VEGAS BLVD SOUTH                   ENTRADA POR CL HERMOSILLA                  42760 ALBRAE ST
#4300                             #4300                                      MADRID 27001                               FREMONT CA 94538
LAS VEGAS NV 89101                LAS VEGAS NV 89101                         SPAIN                                      CINDYF@WINWARDSILKS.COM
EDWARD.M.MCDONALD@USDOJ.GOV       NICK.STROZZA@USDOJ.GOV                     AFERRER@VILAGALLO.ES




          Records Printed :     52
Case 18-14683-leb   Doc 104   Entered 08/23/18 13:00:25   Page 8 of 11
                                       Case 18-14683-leb                 Doc 104   Entered 08/23/18 13:00:25                Page 9 of 11
                                                                            Gump’s Holdings, LLC, et al.
                                                                                  Exhibit Pages

Page # : 1 of 3                                                                                                                                          08/22/2018 06:18:32 PM
000055P003-1399S-007                       000034P002-1399S-007                           000039P001-1399S-007                             000036P001-1399S-007
AARON HENRY                                ALLSTATE FLORAL & CRAFT, INC.                  APF FBO PROFESSIONAL STAFFING CO. INC            ASTOUND COMMERCE CORPORATION
MANAGING AGENT                             MANAGING AGENT                                 MANAGING AGENT                                   MANAGING AGENT
550 SOUTH HILL ST                          14038 PARK PL                                  PO BOX 823473                                    111 BAYHILL DR
#1620                                      CERRITOS CA 90703                              PHILADELPHIA PA 19182-3473                       STE 425
LOS ANGELES CA 90013                                                                                                                       SAN BRUNO CA 94066



000053P002-1399S-007                       000023P001-1399S-007                           000049P002-1399S-007                             000068P001-1399S-007
BARBARA HEINRICH STUDIO                    BRIAN TSUNG                                    BUCCELLATI INC.                                  BUCHALTER, A PROFESSIONAL CORPORATION
MANAGING AGENT                             1570 8TH AVE                                   MANAGING AGENT                                   SHAWN M CHRISTIANSON, ESQ
77 EAST JEFFERSON RD                       SAN FRANCISCO CA 94112                         714 MADISON AVE                                  55 SECOND ST, 17TH FLOOR
PITTSFORD NY 14534                                                                        4TH FL                                           SAN FRANCISCO CA 94105-3493
                                                                                          NEW YORK NY 10065



000009P001-1399S-007                       000048P002-1399S-007                           000031P001-1399S-007                             000024P001-1399S-007
CALIFORNIA DEPT. OF TAX & FEE ADMIN.       CENTRAL NATIONAL GOTTESMAN INC.                CIT GROUP/COMMERCIAL SERVICES                    CITY OF OLIVE BRANCH
ACCOUNT INFORMATION GROUP, MIC:29          MANAGING AGENT/JANE HARNESS                    MANAGING AGENT                                   MANAGING AGENT
PO BOX 942879                              3 MANHATTANVILLE RD                            ONE CIT DRIVE                                    9200 PIGEON ROOST
SACRAMENTO CA 94279-0029                   PURCHASE NY 10577                              LIVINGSTON NJ 07039                              OLIVE BRANCH MS 38654




000059P001-1399S-007                       000020P002-1399S-007                           000051P002-1399S-007                             000046P001-1399S-007
COMCAST SPOTLIGHT                          CORPORATE PARTNERS II, LTD.                    CUSHMAN & WAKEFIELD, INC.                        DEACON & CO.
MANAGING AGENT                             ATTN: JONATHAN KAGAN                           RICH LEE                                         MANAGING AGENT
PO BOX 742637                              45 ROCKEFELLER PLAZA                           425 MARKET ST                                    5/F. TOWER 2
LOS ANGELES CA 90074                       STE 2626                                       STE 2300                                         SOUTH SEAS CENTRE, 75 MODY
                                           NEW YORK NY 10111                              SAN FRANCISCO CA 94105                           KOWLOON HONG KONG 999077
                                                                                                                                           HONG KONG


000015P004-1399S-007                       000060P001-1399S-007                           000011P001-1399S-007                             000040P002-1399S-007
DELAWARE DIV. OF REVENUE/BANKR. SVS.       DURLAND CO.                                    EMPLOYMENT DEVELOPMENT DEPT.                     EPSILON DATA MANAGEMENT, LLC
ZILLAH A. FRAMPTION - BANKR. ADMIN.        MANAGING AGENT                                 ATTN: MIC 53 800                                 MANAGING AGENT
CARVEL STATE OFFICE BUILDING               608 FIFTH AVE                                  CAPITOL MALL                                     3788 MOMENTUM PL
820 N. FRENCH ST 8TH FL                    STE 407                                        SACRAMENTO CA 95814                              CHICAGO IL 60689-5337
WILMINGTON DE 19801                        NEW YORK NY 10020



000026P002-1399S-007                       000022P002-1399S-007                           000006P001-1399S-007                             000035P001-1399S-007
FEDEX CORPORATE SERVICES INC.              FRANCES LANE, LLC                              FRANCHISE TAX BOARD                              FURNITURE CLASSICS
MANAGING AGENT                             LINDSAY JERNEGAN                               BANKRUPTCY SECTION, MS A340                      MANAGING AGENT
942 S SHADY GROVE RD                       22 DIGITAL DRIVE                               PO BOX 2952                                      835 PHILPOTTS ROAD
MEMPHIS TN 38120                           STE F                                          SACRAMENTO CA 95812-2952                         NORFOLK VA 23513
                                           NOVATO CA 94945



000052P001-1399S-007                       000063P002-1399S-007                           000019P001-1399S-007                             000045P002-1399S-007
GEORG JENSEN INC.                          GERARD ALAN SILVA                              GORDON BROTHERS RETAIL PARTNERS, LLC             GRACE CHUANG INC
MANAGING AGENT                             MANAGING AGENT                                 ATTN: MACKENZIE SHEA                             MANAGING AGENT
580 BROADWAY                               307 ADELAIDE HILLS CT                          PRUDENTIAL TOWER                                 261 WEST 35TH ST
STE 506                                    SAN RAMON CA 94583                             800 BOYLSTON STREET                              802
NEW YORK NY 10012                                                                         BOSTON MA 02119                                  NEW YORK NY 10001
                                Case 18-14683-leb            Doc 104       Entered 08/23/18 13:00:25               Page 10 of 11
                                                                     Gump’s Holdings, LLC, et al.
                                                                           Exhibit Pages

Page # : 2 of 3                                                                                                                                08/22/2018 06:18:32 PM
000018P001-1399S-007                000038P001-1399S-007                          000004P001-1399S-007                             000064P001-1399S-007
HILCO MERCHANT RESOURCES, LLC       I-CENTRIX DBA RYAN PARTNERSHIP                INTERNAL REVENUE SERVICE                         KOLESAR & LEATHAM
ATTN: IAN S. FREDERICKS             MANAGING AGENT                                PO BOX 7346                                      JAMES PATRICK SHEA;BART K LARSEN
5 REVERE DRIVE                      3100 EASTON SQUARE PL                         PHILADELPHIA PA 19101-7346                       400 S RAMPART BLVD STE 400
SUITE 206                           COLUMBUS OH 43219                                                                              LAS VEGAS NV 89145
NORTHBROOK IL 60062



000062P002-1399S-007                000017P002-1399S-007                          000033P001-1399S-007                             000047P002-1399S-007
LALIQUE NORTH AMERICA, INC.         LAW OFFICES OF JUDITH W ROSS                  LSC COMMUNICATIONS US, LLC                       LSC COMMUNICATIONS, INC.
MANAGING AGENT                      JUDITH W ROSS                                 MANAGING AGENT                                   MANAGING AGENT
25 BRANCA RD                        700 NORTH PEARL ST                            PO BOX 932987                                    191 NORTH WACKER DRIVE
EAST RUTHERFORD NJ 07073            STE 1610                                      CLEVELAND OH 44193                               STE 1400
                                    DALLAS TX 75201                                                                                CHICAGO IL 60606



000032P001-1399S-007                000021P002-1399S-007                          000025P002-1399S-007                             000057P002-1399S-007
MARIA YEE                           METRO INVESTMENT COMPANY                      MICHAEL MOSCA                                    MIEKO MINTZ LLC
MANAGING AGENT                      C/O JONES LANG LASALLE AMERICAS, INC          202 RIPLEY ST                                    MARK A. MINTZ, PRESIDENT
1939 MONTEREY RD                    KIM HARDY, MANAGER                            SAN FRANCISCO CA 94110                           77 RIVER ST APT 1
STE 8                               6410 POPLAR AVE                                                                                HOBOKEN NJ 07030-5613
SAN JOSE CA 95112                   STE 350
                                    MEMPHIS TN 38119


000013P001-1399S-007                000054P002-1399S-007                          000043P001-1399S-007                             000041P001-1399S-007
MISSISSIPPI DEPT. OF REVENUE        MOSS ADAMS LLP                                NAM HAI CO. LTD                                  NATURAL FASHION INC. DBA ANU
BANKRUPTCY SECTION                  MANAGING AGENT                                AREA B, DONG CHIEU ZONE                          MANAGING AGENT
PO BOX 22808                        LOCKBOX 101822                                TAN DONG HIEP WARD                               25 JORDAN PLA # 1
JACKSON MI 39225-2808               2710 MEDIA CENTER DR                          DI AN TOWN BINH DUONG                            CHICO CA 95973
                                    BLDG. 6, STE 120                              VIETNAM
                                    LOS ANGELES CA 90065


000005P001-1399S-007                000058P001-1399S-007                          000044P001-1399S-007                             000067P001-1399S-007
NEVADA DEPT. OF TAXATION            PETRA CLASS                                   REGENCY INTERNATIONAL BUSINESS                   RIEMER BRANSTEIN LLP
BANKRUPTCY SECTION                  MANAGING AGENT                                MANAGING AGENT                                   STEVEN FOX
555 E WASHINGTON AVE                1072 ALABAMA ST                               50 BROADWAY                                      SEVEN TIMES SQUARE
#1300                               SAN FRANCISCO CA 94110                        3RD FLOOR                                        STE 2506
LAS VEGAS NV 89101                                                                NEW YORK NY 10004                                NEW YORK NY 10036



000056P001-1399S-007                000061P001-1399S-007                          000027P001-1399S-007                             000030P002-1399S-007
RUSSELL TRUSSO FINE JEWELRY         SAN FRANCISCO TAX COLLECTOR                   SANDBOX STUDIO                                   SCHWAK USA, INC.
MANAGING AGENT                      MANAGING AGENT                                MANAGING AGENT                                   C/O MATTHEWS INTERNATIONAL CORP.
PO BOX 616                          PO BOX 7427                                   3850 N 29TH TERRACE                              MANAGING AGENT
LAKEWOOD OH 44107-0616              SAN FRANCISCO CA 94120-7427                   STE 107                                          18211 NE 68TH STREET
                                                                                  HOLLYWOOD FL 33020                               STE E # 120
                                                                                                                                   REDMOND WA 98502-8528


000010P001-1399S-007                000029P001-1399S-007                          000050P001-1399S-007                             000008P001-1399S-007
SECRETARY OF STATE                  SEKO WORLDWIDE, LLC                           SEKO WORLDWIDE, LLC                              SOCIAL SECURITY ADMINISTRATION
STATE OF CALIFORNIA                 MANAGING AGENT                                MANAGING AGENT                                   OFFICE OF CHIEF COUNSEL, REGION IX
1500 11TH STREET                    PO BOX 71141                                  1100 ARLINGTON HEIGHTS RD                        160 SPEAR STREET
SACRAMENTO CA 95814                 CHICAGO IL 60694-1141                         STE 600                                          SUITE 800
                                                                                  ITASCA IL 60143                                  SAN FRANCISCO CA 94105-1545
                                     Case 18-14683-leb              Doc 104      Entered 08/23/18 13:00:25                 Page 11 of 11
                                                                            Gump’s Holdings, LLC, et al.
                                                                                  Exhibit Pages

Page # : 3 of 3                                                                                                                                        08/22/2018 06:18:32 PM
000014P002-1399S-007                       000065P001-1399S-007                          000012P002-1399S-007                              000066P001-1399S-007
SOCIAL SECURITY ADMINISTRATION             ST JAMES LAW PC                               STATE OF CALIFORNIA                               STERLING BUSINESS CREDIT LLC
OFFICE OF THE GEN. COUNSEL REG. IV         MICHAEL ST JAMES, ESQ                         LABOR COMMISSIONER                                LAUREL VARNEY
61 FORSYTH ST SW                           22 BATTERY ST STE 888                         1515 CLAY ST                                      8401 N CENTRAL EXPRESSWAY
STE 20T45                                  SAN FRANCISCO CA 94111                        ROOM 801                                          STE 600
ATLANTA GA 30303                                                                         OAKLAND CA 94612                                  DALLAS TX 75225



000070P001-1399S-007                       000028P002-1399S-007                          000007P003-1399S-007                              000001P004-1399S-007
SULLIVAN HILL                              SUPPORT SERVICES GROUP (TEXAS)                UNITED STATES ATTORNEY'S OFFICE                   UNITED STATES TRUSTEE
ELIZABETH STEPHENS                         MANAGING AGENT                                ATTN: CIVIL PROCESS CLERK                         EDWARD MCDONALD
228 SOUTH 4TH STREET                       300 S 13TH ST                                 333 LAS VEGAS BLVD SOUTH                          300 LAS VEGAS BLVD SOUTH
FIRST FLOOR                                WACO TX 76701                                 STE 5000                                          #4300
LAS VEGAS NV 89101                                                                       LAS VEGAS NV 89101                                LAS VEGAS NV 89101



000037P002-1399S-007                       000042P001-1399S-007
VILAGALLO SA                               WINWARD INTERNATIONAL
CALLE VELAZQUEZ 44                         MANAGING AGENT
ENTRADA POR CL HERMOSILLA                  42760 ALBRAE ST
MADRID 27001                               FREMONT CA 94538
SPAIN




          Records Printed :           66
